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SUPPLEMENTAL DECLARATION OF W. ALLEN CARROLL, Jr.

My name is Allen Carroll and | make this supplemental declaration after reviewing BP’s motion
for preliminary injunction. | have outlined my professional experience in earlier declarations. |
have personal knowledge of the facts stated here and would testify as follows.

The declarations of Fishkind, Henley, Richardson, Oustalniol and Sharp discuss the differences
in cash accounting and accrual accounting. Each of these declarations is premised on the
assumption that cash basis profit and loss statements are unreliable for purposes of
implementing the Deepwater Horizon settlement. These statements ignore several facts.

First, the settlement agreement is premised on the claimant’s ability to use preexisting profit
and loss statements to perform the analysis to calculate settlement compensation. Nowhere
does the agreement even imply that cash basis profit and loss statements would not qualify. As
| have previously stated, a great number of small businesses only have cash basis financial
statements.

Second, cash basis profit and loss statements are different from accrual basis profit and loss
statements but are not unreliable.

Third, the declarations referenced above are incorrect when they suggest the cash basis
statements can be easily converted to accrual statements or otherwise adjusted to match
revenues and expenses. The problem is not the qualification or the ability of the accountant.
The problem is the lack of data available to make the conversion. Converting sixty months of
cash basis statements to accrual basis statements, for most small businesses, would either be
impossible or would require many hours of work. Examples of information needed, among
others, for this mammoth undertaking would include invoices, monthly accounts receivable
schedules, inventory listings, and monthly accounts payable schedules. Many small businesses
do not maintain these types of records and even those that do would be challenged to produce
the records going back that far in time.

Fourth, as | understand BP’s proposals, requiring accrual basis statements would not satisfy BP.
BP has appealed claims prepared by my firm based on CPA prepared accrual basis statements
advancing the same matching argument made before the Court. BP has confirmed that its
newly proposed formulas would be applied to claims prepared based on accrual basis profit and
loss statements.

Instead of requiring accrual basis statements, BP has proposed new formulas that arbitrarily
move both revenues and expenses to periods unrelated to the when they were earned or
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incurred. The BP proposal must rely on these arbitrary formulas because accurate data does
not exist to easily allow the sort of matching BP now claims is required under the agreement.
In fact, BP proposes that plaintiff law firms may need to employ valuation experts in order to
document their claims.

BP’s proposal would result in either reallocations of revenues and expenses based on arbitrary
formulas or subjective determinations by the Settlement Administrator as to which months
were comparable and which revenues should be matched to which expenses. There are no
existing accounting rules to guide the Settlement Administrator Vendors in making these
decisions.

Any attempt to implement BP’s proposals would require documents not called for under Exhibit
4A of the Settlement Agreement. For example, the Oustalniol declaration acknowledges that
many claimants would have to submit 2012 statements, and perhaps even 2013 statements.

He does not explain how a business that filed its claim in June of 2012 could accomplish such a
requirement. If only new claimants were forced to submit these documents they would be
treated differently from those filing in 2012. Oustalniol assumes, without any apparent basis,
that Claimants will have earned all revenue from expenditures made during the benchmark
period and compensation period. My experience with certain of the “target’ businesses
identified by BP is that revenues may lag many years, and his assumption is unfounded.

BP and its experts maintain the Claims Administrator has rewritten the Settlement Agreement
to only measure changes in net cash flow. | disagree with BP’s characterization. The Claims
Administrator is simply following the Settlement Agreement formula which uses a business’s
contemporaneous profit and loss statements to determine “Variable Profits,” whether they are
maintained using the cash or accrual basis of accounting.

| declare under penalty of perjury that the foregoing is true and correct.

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